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                                                                         FILED BY                   D.C.

                                                                               JA8 2 12025
    HelloJudgeLeibow itz,                                                        ANGELA E.NOBLE
                                                                                CLERK U S.DISI CX
                                                                              s.D.oFFrl
                                                                                      -k,-FT.uAuD.

    MynameisRoiNeemanfrom CaseNo.0:24-cv-60382-LEIBOW 1TZ/AUGSTIN-BIRCH.
    There hasbeen a big m istake in being atdefaultforfailure to respond to the com plaint. Iwasatthe
    courthouse onJanuary13,2025,to confirm w hen Ineededto respond. The clerktold m ethatIhad until
    January15,2025.lsubmitted the docum intsforCase No.24-14482-BKC-PDR onJanuary 14,2025.


    On M ay7,2024,Ifiledforbankruptcy,andthiscase was partofmybankruptcy.Iam pro se and had no
    know ledge thatthesetwo caseswere separated.Ihad been m isinform ed and m isguided, w hich wasm y
    m istake.
    Itruly apologize forthismisunderstanding,and Ihope youwillbe ableto acceptmy responseforthis
                                                                                               .

    Case.

    lappreciateyourtime and consideration.




    RO INEEM AN



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